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Attorney for Plaintiff




                          IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                  (PORTLAND DIVISION)

N. GENEVIEVE WU, individually,                    Case No. 3:22-cv-948-AR

                    Plaintiff,
                                                  PLAINTIFF’S NOTICE OF
                                                  UNAVAILABILITY
            v.


OREGON HEALTH & SCIENCE
UNIVERSITY, a public corporation,

                    Defendant.


TO:        Defendant, through its counsel, Karen O’Kasey and Jason V. Cohen, Hart Wagner
           LLP, 1000 SW Broadway, Twentieth Fl, Portland, Oregon 97205

AND TO: Clerk of the Court

       Please take notice that Plaintiff’s counsel will be unavailable from October 6, 2022,

through October 13, 2022; and further anticipates being unavailable October 25, 2022, through

October 28, 2022.




                                                                      Powelson Law Office LLC
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       Plaintiff respectfully requests that no depositions, motions, court hearings, conferences,

or other matters be scheduled during those time periods, and for three (3) business days after the

end of each period.



       Signed October 5, 2022.

                                       s/ Chey K. Powelson
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                                 CERTIFICATE OF SERVICE
                           Wu v. Oregon Health & Science University
                                  Case No. 3:22-cv-948-AR


       I hereby certify that on October 5, 2022, I electronically filed the foregoing Plaintiff’s

Notice of Unavailability with the Clerk of the Court using the CM/ECF system, which will send

electronic notification of such filing to the following recipient(s)/registered CM/ECF user(s):

                      Karen O’Kasey
                      Jason V. Cohen
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                      1000 SW Broadway, Twentieth Floor
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                      E-mail: jvc@hartwagner.com
                      Phone: (503) 222-4499
                      Of Attorneys for Defendant




                                              Signed October 5, 2022.

                                              _s/ Chey Powelson__________
                                              Chey K. Powelson
                                              Phone: (503) 496-5187
                                              Attorney for Plaintiff




                                                                        Powelson Law Office LLC
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